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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                           CRIMINAL NUMBER:
                v.
                                                           1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

        Defendant.


  PARTIES’ JOINT SUBMISSION REGARDING PROPOSED JURY INSTRUCTIONS

       Concord Management and Consulting LLC and the United States of America respectfully

file this joint submission regarding proposed jury instructions. Consistent with the Court’s

instructions, the parties are jointly submitting as Exhibit 1 hereto their proposals for jury

instructions. Exhibit 1 specifies the instructions on which the parties agree and the instructions on

which the parties disagree, including specific objections and supporting legal authority.

       The parties request the opportunity to brief the areas of disagreement and suggest setting a

briefing schedule during the upcoming November 15, 2019 status conference.

 Dated: November 12, 2019                            Respectfully submitted,




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JESSIE K. LIU                            CONCORD MANAGEMENT AND
United States Attorney                   CONSULTING LLC

By: /s/      ___________________         By Counsel
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